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LARA Home

ID Number: 800502063 “Request certificate.

New, search

Summary for: MARTIN PAINTING & MAINTENANCE CO., INC.

The name of the DOMESTIC PROFIT CORPORATION: MARTIN PAINTING & MAINTENANCE CO,, INC,

Entity type: DOMESTIC PROFIT CORPORATION

Identification Number: 800502063 Cid ID Number: 479797

| Date of Incorporation in Michigan: 04/21/1993

| Purpose: Alt Purpose Clause

Term: Perpetual

‘Most Recent Annual Report: 2018

Le.

Most Recent Annual Report with Officers & Directors: 2018

The name and address of the Resident Agent:

Rasident Agent Name: MARILYN LULGIURAJ

Street Address: 10049 APPLEGATE

Apt/Suite/Cther:

City: BRIGHTON State: MI
Registered Office Mailing address:

PO. Box or Street Address: 1004S APPLEGATE

Apt/Sufte/Other: GOMARTINPAINTING@GMAIL.COM

City: BRIGHTON State: MI

48114

48114

The Officers and Directors of the Corporation:

Title Mame Aeldress

PRESIDENT MARILYN LULGJURAJ 40049 APPLEGATE BRIGHTON, MI 48114 USA
TREASURER MARILYN LULGJURAJ 40049 APPLEGATE BRIGHTON, MI 48114 USA
SECRETARY MARILYN LULGJURAJ 10049 APPLEGATE BRIGHTON, MI 481i4USA
DIRECTOR MARILYN LULGIURA) 10049 APPLEGATE BRIGHTON, MI 48114 USA

| Act Formed Under: 284-1972 Business Corporation Act

| Total Authorized Shares: 6,000

| “Written Consent

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view filings for this business entity:

hitos://cofs.lara.state.mi.us/CorpwWeb/CorpSearch/CorpSummary.aspx7iD=800502063&SEARCH_TYPE=1

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CORPORATIONS, SECURITIES & COMMERCIAL LICENSING BUREAE
PROGIT CORPORATION ANNUAL REPORT

2017

identiication Musser Corporation Mame
47orar MARTIN PAINTING & MAINTENANCE CG., INC.

Residentagent nageand maling acdress ofthe registered afice
MARILYH LIN GIURAJ
10849 APPLEGATE
GOMARTINGAINTING@GMAIL COM

BRIGHTON Mi 48744

The address ofthe registered office
10049 APPLEGATE

BRIGHTON Mi4eq¢4

Descripeine perpessarel aciivilies afthecorporation diving the year covered by ihis report
PAINTING

Officer/Director information
NAME THLE BUSINESS OF RESIDENCE ADDRESS
MARILYN LULGIURAI PRESIDENT 40049 APPLEGATE BRIGHTON MI 43114
MARILYN LULGJURAL SECRETARY 40049 APPLEGATE BRIGHTON MiE4e+14
MARILYN LULGIURAS TREASURER 410049 APPLEGATE BRIGHTON MI 49114
MARILYN LULGIURA! DIRECTOR 411049 APPLEGATE BRIGHTON Mi 48114
Electronic Signature
Filed By Tite Phone
MARILYN LUI GJURALI AUTHORIZED OFFICER OR AGENT - 2488690533

i certify Gai this fling is submitted without iraudutent intent and that | am authorized by the
business antity lo make any changes reported herein.

Payment Information

Payment Amount Payrnent Date/Time Reference Nor
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